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AO 442 (Rev. 11/11)        Arrest Warrant




                                                             UNITED STATES DISTRICT COURT
                                                                                              for the

                                                                                   District    of Columbia


                      United States of America
                                                    v.                                          )
                                                                                                )
                                                                                                        Case: 1:2'3-mj--00146
                                 Michael                 Asbury                                         Assigned To ::Harvey~ G. Mi,chael
                                                                                                )
                                                                                                )       ASSign. IDate : ,6/27/.20,23
                                                                                                )
                                                                                                )
                                                                                                        Description: Complaint 'W/.Arr,est Warrant
                                            Defendant


                                                                                ARREST WARRANT
To:       Any authorized law enforcement                              officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary                                                            delay
(name of person to be arrested)                                                                         Michael   Asbu
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment                       o           Superseding    Indictment         o   Information         o    Superseding    Information        11 Complaint
o     Probation Violation Petition                                o   Supervised   Release Violation Petition            o Violation    Notice      0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C. § 231 (a)(3) -Civil Disorder
 18 U.S.C. § I752(a)(l) - Entering or Remaining                                 in an Restricted Building or Grounds;
 18 U.S.C. § I752(a)(2) - Disorderly or disruptive conduct in, a restricted building or grounds
 18 U.S.C. § 1752(a)(4)- Engaging in physical violence in a restricted building or grounds
 40 U.S.C. § 5104(e)(2)(D) - Disorderly conduct in a capitol building;
 40 U.S.c. § 51 04(e)(2)(F)- Act of physical violence in the capitol grounds or buildings
                                                                                                                                G• Michael       Digitally signed by
                                                                                                                                                 G. Michael Harvey
                                                                                                                                                 Date: 2023.06.27
                                                                                                                                H a rvey         11:26:03 -04'00'
Date: __        ",-,06=1=-27,-,-1=20"",2"",,3 __
                                                                                                                          Issuing officer's signature


City and state:                                       Wash in ton D.C.
                                                                                                                           Printed name and title


                                                                                              Return

           This warrant was received on (date) (} (P                               /'a 71     7023and      the person was arrested on (date)        o~l"'r~/?Od--:3
at (city and state)     [fAcie' Ci~y ,A)                                                .

Date:       0(0/r'i1/'J1l')                         3
